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   8                         UNITED STATES DISTRICT COURT

   9                        CENTRAL DISTRICT OF CALIFORNIA

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  11   FELIX DELGADILLO,                       Case No. CV 21-1805-SVW(AS)

  12                      Petitioner,          JUDGMENT
  13         v.

  14
       GEORGE JAIME, Warden
  15

  16                      Respondent.

  17

  18         Pursuant to the Order Accepting Findings, Conclusions and
  19   Recommendations of United States Magistrate Judge,
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  21         IT   IS   ADJUDGED   that   the   Petition   and   the   First   Amended
  22   Petition is denied and dismissed with prejudice.
  23
       DATED: October 27, 2021
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                                                 __________     _____________
  26                                                   STEPHEN V. WILSON
                                                  UNITED STATES DISTRICT JUDGE
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